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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA                            eP Y   erk
                        GAINESVILLE DIVISION                                                ,



LOUIS JAMES CAPWELL, Individually,
ALEXANDER STEVEN CAPWELL,
A Minor by Next Friend Anne Ward,
and ANNE WARD, Individually,



      Plaintiffs,                           Civil Action No. 2:02-0007-WCO
vs.


JAMES GARY WARD,

      Defendant .




               PLAINTIFFS' NOTICE OF SERVICE OF
        SECOND AMENDED RULE 26 REPORT OF TIM F . AGiVEW


      Plaintiffs Louis James Capwell, Alexander Steven Capwell, and Anne

Ward ('Plaintiffs"), by and through undersigned counsel, and pursuant to

Federal Rule of Civil Procedure 26, hereby serve upon all parties the Second

Amended Rule 26 Report of Tim F . Agnew, attached hereto .
           Case 2:02-cv-00007-WCO Document 77 Filed 02/07/03 Page 2 of 10




         This 6th day of February, 2003.

                                               HOLLAND & KNIGHT LLP




                                               Alfred B. Adams, III
                                               Georgia Bar No. 002300
                                               William M . Rich
                                               Georgia Bar No . 603800

                                               Attorneys for Plaintiffs



One Atlantic Center
Suite 2000
1201 West Peachtree Street, N .E .
Atlanta, Georgia 30309-3400
(404) 817-8500
(404) 881-0470 (Facsimile)


ATLI N563349 c1




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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION



LOUIS JAMES CAPWELL, Individually,
ALEXANDER STEVEN CAPWELL,
A Minor by Next Friend Anne Ward,
and ANNE WARD, Individually,



       Plaintiffs,                             Civil Action No. 2:02-0007-WCO
vs.

JAMES GARY WARD, Individually
and as Executor of the
Estate of Irma Ward Webb,

      Defendant.



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this day served a true and correct copy of

the foregoing PLAINTIFFS' NOTICE OF SERVICE OF SECOND AMENDED

RULE 26 REPORT OF TIM F. AGNEW on the following parties by delivering

same to by manner of service as indicated below :

      Larry A. Ballew, Esq.
      Suite 702
      327 Dahlonega Road
      Gumming, Georgia 30040
      (Via United States Mail and Facsimile)




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James L. Paul, Esq .
Chamberlain, Hrdlicka, White, Williams & Martin
191 Peachtree Street, N .E .
9th Floor
Atlanta, Georgia 30303
(Via Hand Delivery)

This 6th day of February, 2003




                                     William M. Rich
                                     Georgia Bar No. 603800
                                     Of Counsel for Plaintiffs




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 February 6, 2003

 Mr. William M. Rich
 Mr. Alfred B. Adams, III
 Holland & Knight LLP
 One Atlantic Center
 1201 West Peachtree Street, N.E.
 Suite 2000
 Atlanta, GA 30309-3400

 RE: Capwell v. Ward

 Exaert Witness Report of Timothy F. Aenew (Amended)

 Administrative items & Background

 The following is my expert witness report. I am a tax partner with the public accounting firm of
 Smith & Howard, PC located at 1795 Peachtree St. N.E. Suite 300 Atlanta, GA 30309 . I have
 been employed there since December of 1991 . I have a Bachelors degree in Accounting and a
 Masters degree in Taxation both from Georgia State University . I also have the following
 professional designations: Certified Public Accountant, Personal Financial Specialist, and
 Certified Financial Planner. I specialize in income, estate and gift taxation, as well as overall
 financial planning . I have not testified in other cases as an expert witness within the preceding
 four years . I am being compensated at my standard hourly rate of $302 per hour.

 Purpose

 I have been engaged by Holland & Knight LLP to provide a report and testimony regarding estate
 tax matters pertaining to the Estate of Irma C. Webb. This includes my analysis of the tax
 consequences to Mrs. Webb's grandchildren of failing to make a qualified terminable interest
 property election (QTIP) . Please find attached Exhibit A, which lists all documents I have
 reviewed relating to this matter as of today.

 History

 Mrs . Irma Webb died on June 2, 2000. She was survived by her two children Mr. Gary Ward,
 Ms. Anne Ward, her four grandchildren Louis James Capwell, Alexander Steven Capwell,




                                Suite 900. /7Y~ PearLlree Snrel. N.E. . Atlanta. G,-1 30309
                             Tel 404 .874 .6244 Far d04.874 .165b' i,tisRr.srnith-houm'd .rurn
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Mr . William M. Rich
Mr. Alfred B. Adams III
February 6, 2003
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Nicholas Ward, Sydney Ward and her second husband Mr. Lawrence Webb. Mrs. Irma Webb
was predeceased by her first husband Mr. James Ward. Upon the death of her first husband, a
marital trust for the benefit of Mrs. Irma Webb was established and funded . Upon Mrs. Webb's
death, the value of her assets exceeded her available estate tax exemption and accordingly an
Estate Tax Return (Form 706) was filed by her Executor Mr. Gary Ward on January 30, 2002 .
The assets were taxed on their value six months after Mrs. Webb's date of death, otherwise
referred to as the alternate valuation date. During February of 2001 Mrs . Webb's second husband,
Mr. Lawrence Webb, passed away.

Opinion

I have prepared and attached Exhibit B, which compares the actual estate taxes paid by the Estate
of Inna Webb with a hypothetical case.            The hypothetical case analysis contains three
assumptions as provided by Mr. Rich and Mr. Adams . The first assumption is that the Itma Ward
Residence Trust was never created, and that all real estate would be part of the residual estate .
The second assumption is that all amounts reported from 1998 - 2000 as gifts to Mr. & Mrs . Gary
Ward were not gifts but in fact loans or inappropriate withdrawals from the trust and, thus, assets
of Mrs . Webb's trust. The third assumption is that the maximum QTIP election was made, thus
deferring the taxation of those assets to Lawrence Webb's estate . Technically, an executor must
elect out of QTIP treatment on schedule M of form 706 . Schedule M of form 706 discloses which
assets are passing under the marital deduction to the surviving spouse. For simplicity's sake, I
will discuss the QTIP treatment in terms of making a valid QTIP election . I have not been asked
to provide an opinion or research whether or not the QTIP election is still available as a planning
option . Based on the defendant's answers to plaintiffs' third interrogatories, Mr. Lawrence Webb
had no assets upon his death. Therefore, his entire estate tax exemption ($675,000) would have
been available to shelter assets included in his estate under a valid QTIP election for the estate of
Mrs. Irma Webb. The net estate fax liability reduction to the Estates of Mrs . Irtna Webb and Mr.
Lawrence Webb based on these assumptions would be approximately $117,000 (see exhibit B).

Additionally, I have calculated the amount each of Mrs . Irma Webb's four grandchildren would
have received from the trust based on these assumptions . Exhibit C sets forth the details of this
calculation . Based upon the above referenced assumptions, Mrs. Webb's residual estate would
have been valued at $1,770,692 (see Exhibit B). The Executor would have then paid all debts and
expenses from the residual estate pursuant to Item V of Mrs . Webb's Last Will and Testament in
the amount of $653,113 (see Exhibit B). Thus, the balance remaining after all expenses and debts
would equal $1,117,579 . This amount represents the maximum amount available to qualify under
a QTIP election . Pursuant to Item III of Mrs. Webb's Last Will and Testament, her residuary
estate would be treated and disposed of as part of the trust estate created under a Trust Agreement
dated February 4'h, 1981 known as the Supplemental Trust Agreement . The Supplemental Trust
agreement provides under Items 2 and 3 that if Irma Webb is survived by Lawrence Webb all
assets in this host would be held for his benefit for life with income distributed to him in quarter-
annual installments. It is the language in Items 2 and 3 which allows for a QTLP election. If a
valid QTIP had been made by the Estate of Irma Webb, the entire amount would have been
included and taxed in the estate of Lawrence Webb when he died. The Supplemental Trust
further provides that upon the death of Lawrence Webb the remaining trust assets are to be split
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Mr. William M. Rich
Mr . Alfred B. Adams III
February 6, 2003
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equally for the benefit of the grandchildren of Irtna Webb . Assuming no increase or decrease in
this value over Mr. Lawrence Webb's remaining life expectancy and that Mr. Webb had no debts
and modest final expenses of $10,000, his taxable estate would have equaled $1,107,579. The
related estate taxes would have equaled $169,357 . Therefore, the net after-tax inheritance to be
split equally among Mrs. Webb's four grandchildren would have been $938,222 .

Lastly, I have reviewed a letter dated February 22, 2001, from Mr. Christopher Kottke to Mr.
Gary Ward. This letter discusses four possible filing scenarios for Mrs. Webb's estate .

The first scenario is the closest to the attached Exhibit B. Under the first scenario, all of Mr. Gary
Ward's borrowings would be treated as assets of Irma Ward's estate and a QTIP election would
be made. This scenario results in the lowest estate tax, the largest inheritance going to
grandchildren and the smallest inheritance going to Mr. Ward .

Scenario number two discusses only treating $200,000 (more accurately $240,000) of the
borrowings as loans thus reducing the assets available for the QTIP election and increasing the
overall estate taxes . This also reduces the grandchildren's inheritance and increases assets passing
to Mr. Gary Ward.

Scenario number three discusses treating all prior borrowings as gifts to Mr . Gary Ward thus
reducing the amount available for the QTIP election to $309,000. This scenario further increases
the overall estate tax liability and further reduces the grandchildren's inheritance .

The fourth and final scenario discusses eliminating [he use of the QTIP election and treating all
prior borrowings as gifts. This scenario produces the largest overall estate tax and eliminates [he
grandchildren's inheritance since all of the residuary estate would be used to pay estate taxes.
The letter goes on to state that this scenario has significant litigation risk. Ultimately, the estate
tax return was prepared and filed using this methodology .

This was just a brief summary of the above referenced letter pending further information and
analysis . I reserve the right to comment on this letter in greater detail .

I respectfully submit this document as my expert witness report for the above referenced matter .

Sincerely,


Tim F. Agnew
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                                          Exhibit A

   1 . United States Estate (and Generation-Skipping Transfer) Tax Return (Amended) for the
        Estate of Irma C . Webb and related attachments.
   2 . Last Will and Testament of Irma Ward Webb dated February 2"°, 1981 .
   3 . Trust Agreement dated March 19`x, 1969 created by decedent's husband James A. Ward
        referred to as the Marital Trust.
   4. Supplemental Trust Agreement dated February 2"d, 1981 created by decedent referred to
        as the Revocable Trust.
   5. Trust Agreement dated October 27`h, 1997 created by decedent referred to as the Irma
         Webb Residence Trust.
   6. Memo from William Rich summarizing assets included in amount reported on Estate
         Return for the Irma Webb Residence Trust and a summary of 1998 - 2000 gift tax
         returns.
   7. Copy of letter from Christopher L. Kottke dated February 22"d, 2001 to Mr. Gary Ward
         outlining various filing scenarios and projected outcomes.
   8. Copies of hand written work-papers relating to item #7.
   9. Copies of hand written notes believed to be taken by Mr. John A. Gram from meeting a
         meeting on February 19`h, 2001 with Mr. & Mrs . Gary Ward.
    10. Copy of letter from Christopher L. Kottke dated June L8'h, 2001 to Mr. Gary Ward
         regarding filing estate tax return and apportionment of taxes.
    11 . Copy of Defendant's answers to plaintiffs' third interrogatories to defendant.
    12. Copy of Defendant's answers to plaintiffs' second interrogatories to defendant.
    13. United States Estate (and Generation-Skipping Transfer) Tax Return (as originally filed)
         for the Estate of Irma C. Webb and related attachments.
    14. Copy of letter from Christopher L. Kottke dated June 25, 2001 to Mr. Gary Ward
         regarding filing estate tax return and apportionment of taxes .
    15. 1998-2000 Gift Tax Returns of Irma Ward Webb and Lawrence Webb
ATLI #563301 v2
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                                                               Exhibit B

Estate of Irtna Webb

                                               Alternate
Estate of lrma Ward (DOD 612100)               Valuation
Personal Prop"                                         4,250                     Per schedule F of 706
Residual Estate' (includes Real Estate)           1 .770,692                     Per schedule G of 706 + Real Estate + Loans
Marital Trust (created by James A . Ward)            779,000                     Per Schedule H of 706
Gross Estate                                                        2,553,942

Funeral 8 AdminsVation Expenses                      63,031                      Paid out of Residue Per Item V of Will
Debts                                               590,082                      Paid out of Residue Per Item V of Will
Marital Deduction (QTIP)                          1,117,579
Total allowable deductions                                          1,770,692

Taxable Estate                                                        763,250
Adjusted Taxable Gifts (revised)
Tentative Tax                                                         261,268
Less: Maximum unified Credit                                          220,550
Tax Due (Would be paid by Marital Trust)                               40,718


  Assumes residence trust was never created and gifts never made . Also, assumes
all asterisked properly qualified for marital deduction with a QTIP election .

'Residual Estate
Revocable Trust                                     509,000
Condo IF1                                           117,000
Condo #2                                             96,000
Home                                                420,000                      Gross of debt and selling expenses
Amounts due from Gary Ward                          628,692
Total Real Estate 8 Loans Receivable              1,770,692




Estimated Estate of Lawrence Webb DOD 2107)
QTIP Marital Trust                          1,117,579                            Assumes flat value
Other Assets                                                                     Zero based on letter
Gross Estate                                                         1,717,579

Funeral 8 Administration Expenses                    50,000                      Estimate
Debts                                                                            Estimate
                                                                       10,000

Taxable Estate                                                       1,107,579
Adjusted Taxable Gifts (revised)
Tentative Tax                                                         389,907
Less : Maximum unified Credit                                         220,550
Tax Due                                                               169,357


Total Tax as orignally Filed                                          327,272
Revised fax liability                                                 210,075
Difference                                                            117,197
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                                             Exhibit C
Estate of Irma Webb

Projected Inheritance Amounts


QTIP Assets                                                   1,117,579
Less: Estimated Final Expenses                                  (70,000)
Less: Estate Taxes                                             (169,357)
Net Inheritance under Revocable Trust                           938,222

Share per beneficiary (4 Grandchildren)                        234,556




These calculations assume no income, expenses, gain or loss
since Mrs . Webb's death.
